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                    UNITED STATES DISTRICT COURT
                   WESTERN DISTRICT OF WISCONSIN
______________________________________________________________________

WISCONSIN LABORERS HEALTH FUND,
WISCONSIN LABORERS APPRENTICESHIP
AND TRAINING FUND, BUILDING & PUBLIC
WORKS LABORERS VACATION FUND, and
JOHN J. SCHMITT (in his capacity as Trustee)

WISCONSIN LABORERS-EMPLOYERS
COOPERATION AND EDUCATION TRUST FUND,

WISCONSIN LABORERS DISTRICT COUNCIL,

                           Plaintiffs,

      v.                                                     Case No. 20-cv-197

KEPA SERVICES INC.,

                      Defendant.
______________________________________________________________________

                              COMPLAINT
______________________________________________________________________

      NOW COME the Plaintiffs, by their attorneys, The Previant Law Firm, S.C., by

Christopher J. Ahrens, and as and for a cause of action against the Defendant, alleges

and show to the Court the following:

                               Jurisdiction and Venue

      1.     Jurisdiction of this Court upon Defendant Kepa Services Inc. is founded

upon Section 502 of the Employee Retirement Income Security Act of 1974 (hereinafter

“ERISA”) (29 U.S.C. § 1132), and Section 301(a) of the Labor Management Relations

Act of 1947 (hereinafter “LMRA”), as amended (29 U.S.C. § 185(a)), in that the Plaintiffs

are aggrieved by the Defendant’s violation of certain collective bargaining agreements,

trust plans and trust agreements, and Defendant’ continued refusal to submit
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contributions in accordance with the terms of those plans and agreements, thereby

violating the provisions of ERISA, the Multi-Employer Pension Plan Amendments Act

(“MPPAA”), the terms and provisions of the employee benefit plans, Section 301 of the

LMRA, and the common law of the State of Wisconsin.

      2.     Venue lies in this Court under ERISA § 502(e)(2) (29 U.S.C. § 1132(e)(2))

in that Plaintiffs are administered at the offices in Dane County, Wisconsin

                                         Parties

      3.     Plaintiffs   Wisconsin   Laborers     Health   Fund,   Wisconsin   Laborers

Apprenticeship and Training Fund, and Building & Public Works Laborers Vacation

Fund, employee benefit plans within the meaning of ERISA §§ 3(1), (2), (3), and (37),

502, and 515, as amended by the MPPAA (codified as amended at 29 U.S.C. §§

1002(1), (2), (3), and (37), 1132, and 1145), and bring this action on behalf of the

Trustees, participants, and beneficiaries of said Plans. Said plans maintain offices at

4633 LIUNA Way, Suite 201, DeForest, Wisconsin 53532.

      4.     Plaintiff John J. Schmitt is a trustee and beneficiary of the Wisconsin

Laborers Health Fund and as such has standing to be a Plaintiff in this action. Mr.

Schmitt maintains an office at 4633 LIUNA Way, Suite 101, DeForest, WI 53532.

      5.     Plaintiff Wisconsin Laborers-Employers Cooperation and Education Trust

Fund (“LECET Fund”) is an employee benefit plan governed by a Board of Trustees

consisting of union and labor employee appointees as provided by LMRA § 302(c)(5)

(29 U.S.C. § 186(c)(5)), whose purpose is to address areas of common concern to labor

and management in the construction industry. Said Plan maintains offices at 4633

LIUNA Way, Suite 201, DeForest, Wisconsin 53532.


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      6.       Plaintiff Wisconsin Laborers District Council is a labor organization within

the meaning of 29 U.S.C. § 158, et seq., and brings this action on behalf of the

participants and members of the organization for whom it collects working dues. Said

labor organization maintains offices at 4633 LIUNA Way, Suite 201, DeForest,

Wisconsin 53532.

      7.       Kepa Services Inc. is a domestic corporation, engaged in business with

principal offices located at 6525 West Bluemound Road, Suite 14, Milwaukee, WI

53213.     Its registered agent for service of process is Iyomi Mpeti-Otola,6525 West

Bluemound Road, Suite 14, Milwaukee, WI 53213.

                                           Facts

      8.       Kepa Services Inc. is an employer and party in interest in an industry

affecting commerce within the meaning of ERISA §§ 3(5), (11), (12), and (14) (29

U.S.C. §§ 1002(5), (11), (12), and (14)) and the LMRA (29 U.S.C. §151, et seq.).

      9.       For all times relevant, Kepa Services Inc. was and remains a party to and

agreed to abide by the terms of one or more collective bargaining agreements

(hereinafter “Labor Agreements”) between itself and the Union.

      10.      The Labor Agreements described herein contain provisions whereby Kepa

Services Inc. agreed to make timely payments to the Plaintiffs' trust funds for each

employee covered by said Labor Agreements.

      11.      By execution of said Labor Agreements, Kepa Services Inc. adopted the

trust agreements and amendments thereof which establish and govern the Plaintiffs and

are necessary for their administration, and designated as its representatives on the

Board of Trustees such trustees as have been named and appointed pursuant to said


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trust agreements, together with their successors selected in the manner provided in

such trust agreements, and thereby ratifying all actions already taken or to be taken

within the scope of their authority.

       12.    By virtue of executing the Labor Agreements and adopting and assenting

to all the terms and provisions of the trust agreements, and the rules and regulations

heretofore and hereafter adopted by the trustees of said trust funds, Kepa Services Inc.

has agreed as follows:

              a.     to file monthly reports and make timely and prompt contributions to

                     the Plaintiffs for each employee covered by the aforementioned

                     Labor Agreements;

              b.     to deduct from each employee who has so authorized, working

                     dues and to timely pay said amounts to the Unions;

              c.     to designate, and accept as its representatives, the trustees named

                     in the declaration of trust and their successors;

              d.     to adopt and abide by all of the rules and regulations adopted by

                     the trustees of the Plaintiffs pursuant to the trust agreements;

              e.     to adopt and abide by all of the actions of the trustees in

                     administering the Plaintiffs in accordance with the trust agreements

                     and the rules so adopted;

              f.     to pay, in addition to all of the contributions which are due and

                     owing, liquidated damages and interest relative to delinquent

                     contributions; and




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              g.     to pay, in addition to delinquent contributions, interest, and

                     liquidated damages, actual attorney fees, audit fees, court costs,

                     and service fees, should legal action be necessary to obtain

                     delinquent contributions, interest, and liquidated damages.

       13.    Kepa Services Inc. has failed to perform its obligations pursuant to the

terms and conditions of the Labor Agreements and trust agreements by, although not

necessarily limited to, the following:

              a.     failing to make continuing and prompt payments to the Plaintiffs as

                     required by the Labor Agreements and trust agreements for all of

                     Kepa Services Inc.’ covered employees; and

              b.     failing to accurately report employee work status to the Plaintiffs.

       14.    ERISA § 502(g)(2), as amended by the MPPAA provides:

              (2)    In any action under this title by a fiduciary for or on
              behalf of a plan to enforce section 515 in which a judgment in
              favor of the plan is awarded, the court shall award the plan --

                     (A)     the unpaid contributions,

                     (B)     interest on the unpaid contributions,

                     (C)     an amount equal to the greater of --

                             (i)    interest on the unpaid contributions, or

                             (ii)   liquidated damages provided for under the plan in an
                             amount not in excess of 20 percent (or such higher
                             percentage as may be permitted under Federal or State law)
                             of the amount determined by the court under subparagraph
                             (A),

                     (D)     reasonable attorney's fees and costs of this action, to be
                             paid by the defendant, and



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                      (E)    such other legal or equitable relief as the court deems
                             appropriate.

For purposes of this paragraph, interest on unpaid contributions shall be determined by

using the rate provided under the plan, or, if none, the rate prescribed under section

6621 of the Internal Revenue Code of 1954.

       15.     ERISA § 515 provides:

               Every employer who is obligated to make contributions to a
               multiemployer plan under the terms of the plan or under the
               terms of a collectively bargained agreement shall, to the extent
               not inconsistent with law, make such contributions in accordance
               with the terms and conditions of such plan or agreement.

       16.     Despite demands that Kepa Services Inc. perform its statutory and

contractual obligations, the Plaintiffs have ascertained that said Defendant has failed,

neglected, and omitted to make those payments. Kepa Services Inc. is now indebted to

the Plaintiffs as follows:

Audit Period: April 1, 2015 through May 31, 2017:

Wisconsin Laborers Health Fund                                                    $382.36
Wisconsin Laborers Apprenticeship and Training Fund                                 11.76
Building & Public Works Laborers Vacation Fund                                      54.42
Wisconsin Laborers LECET Fund                                                        3.43
Wisconsin Laborers District Council (Dues)                                          44.33

Audited Period: June 1, 2017 through July 31, 2019:

Wisconsin Laborers Health Fund                                               $24,216.37
Wisconsin Laborers Apprenticeship and Training Fund                              864.87
Building & Public Works Laborers Vacation Fund                                 3,200.01
Wisconsin Laborers LECET Fund                                                    175.14
Wisconsin Laborers District Council (Dues)                                     3,070.21
Unaudited Period August 1, 2019 to the Present:

Wisconsin Laborers Health Fund                                                    Unknown
Wisconsin Laborers Apprenticeship and Training Fund                               Unknown
Building & Public Works Laborers Vacation Fund                                    Unknown
Wisconsin Laborers LECET Fund                                                     Unknown

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Wisconsin Laborers District Council (Dues)                                       Unknown



                      Claim One Against Kepa Services Inc., Inc.
            Violation of ERISA §§ 502 and 515 (29 U.S.C. §§ 1132 and 1145)

      17.     As and for a first claim for relief against Kepa Services Inc., Plaintiffs

repeat and reallege each and every allegation contained in paragraphs 1 through 16

above and incorporate the same as though fully set forth herein word for word.

      18.     For purposes of this claim (Claim One), the Wisconsin Laborers Health

Fund, Wisconsin Laborers Apprenticeship and Training Fund, and Building & Public

Works Laborers Vacation Fund are hereinafter referred to as the (“Funds”).

      19.     Due demand has been made by the Funds upon Kepa Services Inc. for

payment of all sums due and owing, but said Defendant has failed to pay them and

amounts remain due and owing.

      20.     Because, as the Funds are informed and believe, Kepa Services Inc. has

not made timely and prompt contributions on behalf of all covered employees, the

corpus of each of the Funds is reduced, the Funds' income is reduced, and their ability

to pay benefits to qualified participants and beneficiaries is curtailed. Consequently,

ERISA and the Funds' employee benefit plans have been violated, and the Funds are

entitled to all of the remedies provided by ERISA.

      21.     Because Kepa Services Inc. has failed to make timely and prompt

contributions, some of the Funds' beneficiaries and participants could have eligibility

terminated and benefits reduced for which they would otherwise qualify.            These

beneficiaries and participants would be left without an adequate remedy at law and



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would suffer severe and irreparable harm if said Defendant is not mandatorily compelled

to comply with the Labor Agreements and enjoined from further breaches.

      WHEREFORE, the Funds demand the following relief:

      1. Judgment on behalf of the Funds and against Kepa Services Inc.:

           A.       For $448.54, representing contributions, interest, and liquidated

                    damages owed to the Funds for the audit period covering April 1,

                    2015 through May 31, 2017

           B.       For $28,281.25 representing contributions, interest, and liquidated

                    damages owed to the Funds for the audit period covering June 1,

                    2017 through July 31, 2019

           C.       For unpaid contributions, interest, and liquidated damages owed to

                    the Funds for the period August 1, 2019 through the date this action

                    was commenced;

           D.       For unpaid contributions, interest, and liquidated damages becoming

                    due and/or arising after the commencement of this lawsuit through

                    the date of judgment; and

           E.       Actual attorney fees and the costs of this action.



      2.        For such other, further, or different relief as the Court deems just and

proper.




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               Claim Two Against Defendant Kepa Services Inc., Inc.
                     Violation of LMRA § 301 (29 U.S.C. § 185)

       22.    As and for a second claim for relief against Kepa Services Inc., Plaintiffs

repeat and reallege each and every allegation contained in paragraphs 1 through 21

above and incorporate the same as though fully set forth herein word for word.

       23.    For purposes of this claim (Claim Two), the Wisconsin Laborers LECET

Fund is hereinafter referred to as the “Fund” and the Wisconsin Laborers District

Council is hereinafter referred to as the “Union.”

       24.    Due demand has been made upon Kepa Services Inc. for payment of all

contributions, interest, and dues owed to the Fund and Union, but said Defendant has

refused to pay them, and amounts remain due and owing.

       25.    Because, as the Fund and Union are informed and believe, Kepa Services

Inc. has not paid timely and prompt contributions on behalf of union members, the

Fund’s income is reduced and its beneficiaries and participants could have eligibility

terminated and benefits reduced for which they would otherwise qualify.           These

beneficiaries and participants would be left without an adequate remedy at law and

would suffer severe and irreparable harm if said Defendant is not mandatorily compelled

to comply with the Labor Agreements and enjoined from further breaches.

Consequently, LMRA has been violated, and the Fund is entitled to all of the remedies

provided by LMRA.

       WHEREFORE, the Fund and Union demand the following relief:

       1.     Judgment on behalf of the Fund and Union and against Kepa Services

Inc. as follows:



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            A.     For $47.76, representing unpaid contributions, interest and dues

                   owed to the Fund and Union for the audit period covering April 1,

                   2015 through May 31, 2017;

            B.     For $3,245.35 representing unpaid contributions, interest and dues

                   owed to the Fund and Union for the audit period covering June 1,

                   2017 through July 31, 2019;

            C.     For unpaid contributions, interest, and dues owed to the Fund and

                   Union for the period August 1, 2019 through the date this action

                   was commenced;

            D.     For unpaid contributions, interest, and dues owed to the Fund and

                   Union becoming due and/or arising after the commencement of this

                   lawsuit through the date of judgment; and

            E.     Actual attorney fees and the costs of this action.

      2.    For such other, further, or different relief as the court deems just and

proper.

      Dated this 4th day of March, 2020.

                                         s/Christopher J. Ahrens
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